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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                    Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                       Plaintiffs,
                                                     Case No.: 8:25-CV-00951-PX
v.

Kristi Noem, et al.,

                       Defendants.


                       Plaintiffs’ Notice of Filing Supplemental Exhibit
                                   to Plaintiffs’ Privilege Brief

       Plaintiffs notice the filing under seal of the accompanying declaration of Michael G. Kozak

as a supplemental exhibit to Plaintiffs’ Privilege Brief (ECF 129). The declaration, which was

provided to Plaintiffs’ counsel the evening the Privilege Brief was due, is relevant to the

Government’s privilege assertions that the Court is considering and will further address at

tomorrow’s hearing.     See ECF 115.    The accompanying declaration is filed under seal as

Attachment A, and an interim motion to seal will follow this submission consistent with the

Court’s local rules.

Dated: May 15, 2025

                                                /s/ Jonathan G. Cooper
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